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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


RICHARD ZEPEDA,                                    )
                                                   )
                       Plaintiff,                  )
v.                                                 )   Case No.: 1:21-cv-396
                                                   )
HEALTHCARE REVENUE RECOVERY                        )
GROUP d/b/a ARS ACCOUNT                            )
RESOLUTION SERVICE, LLC                            )
                                                   )
                       Defendant.                  )

                             PROPOSED ORDER OF DISMISSAL

       ON THIS DAY came on to be heard the above-styled and numbered case. Counsel of record

for Richard Zepeda has Filed a Notice of Dismissal in this matter. This Notice has asked the Court to

dismiss all remaining claims against Healthcare Revenue Recovery Group d/b/a ARS Account

Resolution Service, LLC with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

       IT IS THEREFORE ORDERED that the Notice of Dismissal is GRANTED, and all

remaining claims are to be dismissed with prejudice against Defendant Healthcare Revenue Recovery

Group d/b/a ARS Account Resolution Service, LLC.

       All relief not expressly granted in this Order is DENIED.

IT IS SO ORDERED.



Dated this _________ day of ________________, 2021



                                               ______________________________________
                                               Honorable Judge Presiding
